Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 1 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 2 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 3 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 4 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 5 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 6 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 7 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 8 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 9 of 10
Case 1:19-cv-07518-MKV Document 1 Filed 08/12/19 Page 10 of 10
